Case 2:14-cV-05335-I\/|SG Document 34-2 Filed 12/10/14 Page 1 of 15

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DATE RECE|VED: 11/29/12
QUANT|TY RECE|VED: 46

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MARKET: Phi|ade|phia

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Case 2:14-cV-05335-I\/|SG Document 34-2 Filed 12/10/14 Page 3 of 15

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MARCELLUS SHALE -

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MARKET: Phi|ade|phia

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QUANT|TY RECE|VED: 75
PR|NTER: Titan
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DATE RECE|VED: 10/13/11
QUANT|TY RECE|VED: 40

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Case 2:14-cV-05335-I\/|SG Document 34-2 Filed 12/10/14 Page 11 of 15

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QUANT|TY RECE|VED: 101
PR|NTER: Titan
PHOTOGRAPHED BY: Raymond Giuffrida
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